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                   Exhibit
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April 26, 2019

VIA FEDEX and E-MAIL: teetalktom@aol.com
Mr. Thomas E. Gorman
Gorman Associates LLC dba Golf Life Real Estate
90 Milton Street
Dedham, MA 02026

Re: Affordable Aerial Photography, Inc. v. Gorman Associates LLC dba Golf Life
    Real Estate
    Our File No. 00022-0063

Dear Mr. Gorman,

We write on behalf of our client, Affordable Aerial Photography, Inc., for purposes of
resolving a case of copyright infringement against you. This demand is privileged from
disclosure pursuant to Federal Rule of Evidence 408.

Please provide this letter to your general liability insurance carriers or other providers of
insurance that may cover this claim.

Affordable Aerial Photography, Inc. (“AAP”)
Robert Stevens is a high-end real estate photographer who makes his living
photographing million dollar homes for real estate agents. Stevens is an employee of his
company, AAP, which provides photo shoots to a client’s specifications. Stevens is self-
taught, but his photographs rival those taken by photographers who charge thousands
more. AAP licenses its photos to agents pursuant to a written license. The license is
granted only to the agent for whom the photos were taken.

AAP retains all copyrights to its photographs. AAP licenses its copyrighted works, such
as the one in this case, for commercial use.

In 2012, AAP created an image entitled “Lost Tree Village golf a 2012 AAP.jpg,”
hereinafter referred to as the “Work.”

The Work at issue is shown below. At the time the Work was created, AAP applied
copyright management information to the image.
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AAP registered the Work with the Register of Copyrights on July 23, 2015, and was
assigned the registration number VA 1-967-114, a copy of which is enclosed.

Infringement by Gorman Associates LLC dba Golf Life Real Estate (“GLRE”)
The infringement at issue was identified on March 26, 2019. We have enclosed
contemporaneous evidence of the infringement by GLRE. In addition to the
infringement, AAP’s photograph was very obviously cropped as shown on the attached.

You have employed our client’s Work in at least the manner indicated in the evidence
attached. Your unauthorized use commenced on at least the date indicated above. You
are fully aware that the Work you used is our client’s Work. No one from your
company ever sought a license from our client to use the Work for any purpose.

You have copied, displayed, and distributed our client's Work without permission,
license or consent. The use of a creator's photographic image without written consent or
license violates the United States Code, Title 17, and the Copyright Act. The Copyright
Act provides for entry of an injunction directing removal of the offending materials
pending litigation. This letter shall serve as formal notice that you immediately cease
and desist all unauthorized uses of our client’s Work. Any such further uses shall be at
your peril.

If you possess a contract, license, agreement or writing on which you will rely for
authorization of your use of our client’s Work, please provide us with this evidence so
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Mr. Thomas E. Gorman
Gorman Associates LLC dba Golf Life Real Estate
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we may avoid further controversy or litigation. Otherwise, we will be forced to assume
that your use violated the law.

Damages
Copyright law provides several different elements of compensation to AAP when a
work is infringed or altered. Section 504 of the Copyright Act permits AAP to recover
actual damages plus “any additional profits of the infringer that are attributable to the
infringement and are not taken into account in computing the actual damages,” or
statutory damages of up to $150,000 per work infringed if the registration predated the
infringement. AAP can present both damages theories to the jury and select the higher
award any time prior to entry of judgment.

Academic studies have demonstrated that the use of good quality photographs more
effectively market and advertise products and drive sales. AAP’s photographs are of the
highest quality. AAP’s photographs are also scarce since it is one of the only sources of
such quality photographs.

AAP’s damages are not limited to what it would have agreed to license the Work for
prior to the infringement. Rather, AAP’s actual damages will be measured by the fair
market value of the photograph considering GLRE’s use to sell and promote its business.
AAP’s actual damages must be measured in light of GLRE’s use of AAP’s high quality
and unique Work.

This is consistent with federal courts’ approach to broadly construing the term “actual
damages” to favor victims of infringement. See, e.g., Davis v. Gap, Inc., 246 F.3d 152, 164
(2d Cir. 2001). The fair market value approach for calculating damages is an accepted
approach to valuing the defendants’ uses of photographs. See Leonard v. Stemtech Int'l,
Inc., Nos. 15-3198, 15-3247, 2016 U.S. App. LEXIS 15565 (3d Cir. Aug. 24, 2016). In
addition, AAP can offer evidence of the actual cost to take the photograph infringed on a
time and materials basis.

Section 504 of the Act permits AAP to recover actual damages plus “any additional
profits of the infringer that are attributable to the infringement and are not taken into
account in computing the actual damages.” Therefore, AAP will also be entitled to
GLRE’s profits from the infringement, based upon the revenue GLRE earned in
connection with the use of AAP’s Work.

Alternatively, AAP could seek statutory damages for infringement in an amount of up
to $30,000 per work infringed if the registration predated the infringement. There is also
the possibility that a judge or jury could determine that GLRE’s infringement was willful.
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Gorman Associates LLC dba Golf Life Real Estate
April 26, 2019
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If GLRE’s infringement was shown to be willful, the statutory damage award would
increase to an amount up to $150,000 per work infringed.

There is also the issue of the removal of AAP’s copyright management information.
Section 1203(c)(3)(B) of the Digital Millennium Copyright Act permits AAP to recover
statutory damages of not less than $2,500 or more than $25,000 per violation of the
prohibition against alteration or removal of copyright management information
contained in section 1202. Based upon GLRE’s removal of AAP’s copyright
management information, AAP will seek the maximum statutory damages of $25,000
per photograph against GLRE for this violation.

Demand
In order to determine how to proceed, please provide us with information and
documents showing:

1.     the full nature and extent of the use of our client's Work, in any and all formats;

2.     representative copies in any and all tangible form and media in which our
       client's Work was incorporated or employed; and

3.     the source of the Work.

Upon receipt of this information we will consider and determine an appropriate amount
required to be paid to our client in compensation.

Please carefully consider this letter and the associated exhibits and provide them to your
attorneys and insurance carriers. If we do not receive a response from you or a
representative by May 13, 2019, we will take further steps to protect our client’s rights.
We look forward to your prompt response.

Sincerely,

SRIPLAW




Ana P. Moretto

APM/jcj
Enclosures
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June 14, 2019

VIA FEDEX and EMAIL: teetalktom@aol.com
Mr. Thomas Gorman
Gorman Associates LLC dba GolfLifeRealEstate.com
90 Milton Street
Dedham, MA 02026

Re: Affordable Aerial Photography, Inc. v. Gorman Associates LLC dba
    GolfLifeRealEstate.com
    Our File No.: 00022-0063

Dear Mr. Gorman,

We write this follow up letter on behalf of our client Affordable Aerial Photography, Inc.
for the purposes of resolving a case of copyright infringement against you by our client.
This demand is privileged from disclosure pursuant to FRE Rule 408.

Enclosed please find our prior letter dated April 26, 2019, wherein we detailed the basis
of the copyright infringement claim against you, including the evidence of infringement.

We note that a review of the accused infringing webpage shows that the infringement
has not been removed. It is imperative that you respond to us. If we do not hear from
you, we will be forced to take further steps to protect our client’s rights, including filing
a lawsuit against you. We also repeat our demand that you tender this claim to your
insurance carrier. We look forward to your prompt response.

Sincerely,

SRIPLAW




Joel B. Rothman

JBR/jcj
Enclosure
